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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF RHODE ISLAND

In re:

JOAN TOPALIAN,                                  Case No. 97-14900
                                                Chapter 7
            Debtors.


JOAN TOPALIAN,

            Plaintiff,

v.                                              Adversary No.: 16-01030

BANK OF AMERICA,

            Defendant.
____________________________________


         STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF
         BANK OF AMERICA. N.A.’S MOTION FOR SUMMARY JUDGMENT




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                      Undisputed Facts                             Supporting Evidence

   1. Bank of America, N.A. (“BANA”) is a wholly-owned         Tom Jordan Affidavit
      subsidiary of Bank of America Corporation and the        dated March 6, 2018
      successor-in-interest to FIA Card Services, N.A.,        (“Jordan Aff.”), ¶ 3
      formerly known as MBNA America Bank, N.A
      (“FIA”).

   2. FIA was merged into and under the charter and title of   Jordan Aff., ¶ 3
      BANA effective October 1, 2014.

   3. On May 23, 1994, Plaintiff opened a MasterCard credit    Jordan Aff., ¶¶ 4, 6;
      card account with a BANA predecessor-in-interest         BANA 000001; BANA
      currently ending in 5699 (formerly ending in 8434 and    000003
      6949) (the “MasterCard Account”).

   4. On July 8, 2004, Plaintiff opened a Visa credit card     Jordan Aff., ¶ 8; BANA
      account with BANA currently ending in 0041 (formerly     000006
      ending in 1130 and 6048) (the “Visa Account”).

   5. BANA’s standard practice was to change the account       Jordan Aff., ¶ 5, 6, 8;
      number for its accounts at the time of charge-off, and   BANA 000001; BANA
      this change occurred with respect to both the            000007
      MasterCard Account and the Visa Account.

   6. On November 24, 1997, Plaintiff filed a Chapter 7        Topalian Bankr. Pet.;
      petition in the United States Bankruptcy Court for the   ECF No. 1
      District of Rhode Island, BK No. 97-14900 (the
      “Bankruptcy Filing”).

   7. Only the MasterCard Account was included in the          Topalian Bankr. Pet.,
      Bankruptcy Filing.                                       Schedule F; ECF No. 1


   8. Upon notice of the Bankruptcy Filing on December 8,      Jordan Aff., ¶ 7; BANA
      1997, BANA updated its records to reflect that the       000002 – BANA 000005
      MasterCard Account was closed due to bankruptcy.

   9. On July 1, 1998, the MasterCard Account was charged-     Jordan Aff., ¶ 6; BANA

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      off as a loss to the bank.                                 000001

   10. The Visa Account was not included in the Bankruptcy       Jordan Aff., ¶ 8;
       Filing.                                                   Topalian Bankr. Pet.,
                                                                 ECF No. 1
   11. In October 2006, BANA inadvertently misapplied a          BANA 000013, BANA
       payment received from Plaintiff in the amount of          000015
       $160.81 to Plaintiff’s MasterCard Account instead of
       the Visa Account.

   12. Upon notice of the misapplication in November 2006,       BANA 000017, BANA
       BANA quickly cured the misapplication by applying         000057
       the payment to the Visa Account.

   13. BANA made an interest charge adjustment on the Visa       Jordan Aff., ¶ 8; BANA
       Account in the amount of $144.86 in 2010.                 000019

   14. BANA made an interest charge adjustment on the Visa       Jordan Aff., ¶ 8; BANA
       Account in the amount of $444.04 in 2011.                 000021

   15. No adjustments are due with respect to the past history   Jordan Aff., ¶ 8
       or reporting on the Visa Account.

   16. The last payment on the Visa Account was made on          Jordan Aff., ¶ 8; BANA
       April 23, 2013.                                           000006

   17. After non-receipt of payment, the Visa Account was        Jordan Aff., ¶ 8; BANA
       charged-off as a loss to the bank on June 29, 2013.       000007

   18. On July 24, 2013, the Visa Account and underlying         Jordan Aff., ¶ 9; BANA
       credit card agreement were sold, transferred, and set-    000008
       over to Portfolio Recovery Associates, with full
       authority to do and perform all acts necessary for the
       collection, settlement, adjustment, compromise, or
       satisfaction of the Visa Account.

   19. As a result of the sale, BANA has no interest in the      Jordan Aff., ¶ 10
       Visa Account for any purpose.

   20. At this time, BANA is not reporting either the Visa       Jordan Aff., ¶ 11; BANA
       Account or the MasterCard Account to the credit           000009 – BANA 000010
       reporting agencies.


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                                                         Respectfully Submitted:

                                                         BANK OF AMERICA, N.A.,

                                                         By its Attorneys,

                                                         _/s/John H. McCann__________
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Within fourteen (14) days after service, if served electronically, as evidenced by the certification,
and an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if served by mail or other
excepted means specified, any party against whom such paper has been served, or any other
party who objects to the relief sought, shall serve and file an objection or other appropriate
response to said paper with the Bankruptcy Court Clerk's Office, 380 Westminster Street, 6th
Floor, Providence, RI 02903, (401) 626-3100. If no objection or other response is timely filed,
the paper will be deemed unopposed and will be granted unless: (1) the requested relief is
forbidden by law; (2) the requested relief is against public policy; or (3) in the opinion of the
Court, the interest of justice requires otherwise.



                                 CERTIFICATE OF SERVICE

       I, John H. McCann, hereby certify that on April 6, 2018 I electronically filed the

foregoing Statement of Undisputed Facts with the United States Bankruptcy Court for the

District of Rhode Island using the CM/ECF System and that paper copies will be sent to those

indicated as non-registered participants on this date.


                                                         /s/ John H. McCann
                                                         John H. McCann, Esq. (#2947)




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